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 DOCKET NUMBER: 23-cr-433-3

                   CRIMINAL CAUSE FOR pleading

 BEFORE CHERYL L. POLLAK, U.S.M.J.                DATE:     2/20/2025       TIME IN COURT: 36 minutes

 DEFENDANT’S NAME: Thomas Smith
 X   Present             Not Present                              Custody               Not Custody

 DEFENSE COUNSEL:            Kathryn Wozencroft
     Federal Defender               CJA      X         Retained

 A.U.S.A.: John O'Donnell Enright, Dana             PRETRIAL/PROBATION:
           Rehnquist

     COURT REPORTER             X ESR OPERATOR             Kathryn Arnett           LOG:     FTR 9:06-9:42


 INTERPRETER: None                                          LANGUAGE: n/a

      Arraignment                                           Revocation of Probation – non-contested
 X    Change of Plea Hearing (~Util-Plea Entered)           Revocation of Probation – contested
      In Chambers Conference                                Sentencing – non-evidentiary
      Pre-Trial Conference                                  Sentencing – contested
      Initial Appearance                                    Revocation of Supervised Rel. – evidentiary
      Status Conference                                     Revocation of Supervised Rel. – non-evidentiary
      Telephone Conference                                  Voir Dire Begun
      Jury Selection                                        Voir Dire Held
      Motion Hearing – evidentiary
      Other Hearing:

 X    Case called
 X    Defendant:                Sworn                   Informed of Rights
 X    Defendant consents to have plea taken by a U.S. Magistrate Judge after being advised of the right to
      have the plea taken before a U.S. District Judge.
      Waiver of Indictment Executed
 X    Defendant Withdraws Not Guilty Plea and Enters Plea of Guilty as Stated on the Record
 X    Court Finds Factual Basis for the Plea
      Sentencing Set for:
 X    Based on the proceedings held in open court, it is respectfully recommended that the Court: (1) find
      that the plea of guilty was made knowingly, and is voluntary and uncoerced; (2) find that there is a
      factual basis for the plea; and (3) accept the plea.
      Order of Excludable Delay Entered:         From                      To
      Order of Temporary Detention Entered

                                                   TEXT
Case called. Defendant Thomas Smith present with Counsel Kathryn Wozencroft. AUSAs John O'Donnell
Enright, Dana Rehnquist present for the government. Defendant consented to having plea taken by Magistrate
Judge Pollak. Defendant pleads guilty to Counts One and Two of the Indictment (Conspiracy to Commit
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Securities Fraud, 18 U.S.C. § 371, and Conspiracy to Commit Wire Fraud, 18 U.S.C. § 1349). Judge Pollak
recommends that Judge Komitee accept defendant’s plea.
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UTILITIES
X    ~Util-Plea Entered                           ~Util-Add/Terminate Attorneys
     ~Util-Exparte Matter                         ~Util-Terminate Parties
     ~Util-Set/Reset Deadlines                    ~Util-Indictment Unsealed
     ~Util-Set/Reset Hearings                     ~Util-Information Unsealed
     ~Util-Set/Reset Deadlines/Hearings           ~Util-Bond Set/Reset
     ~Util-Terminate Motions                      ~Util-Set/Reset Mot./R&R Deadlines/Hearings
